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UNITED STATES DISTRICT COURT FOR THE

SOUTHERN DISTRICT OF FLORIDA
Miami Division

Case Number: 18-22226-CIV-MORENO

FRANCISCO VAZQUEZ, and all others
similarly situated under 29 U.S.C. 216(b),

Plaintiff,
Vs. `

GOLD PROTECTION SERVICES, lNC.,
ALAlN URQUIOLA,

Defendants.
/

 

SCHEDULING ORDER SETTING TRIAL

THIS COURT issues this order in accordance With Local Rule 16.1. The parties shall

comply With the following deadlines.

 

Conference and selection of a mediator to be completed no later than:

September 21, 2018

 

Deadline to join additional parties or to amend pleadings:

October 5 , 2018

 

Deadline to complete all discovery (including expert discovery):

December 17, 2018

 

Deadline for the filing of all motions for summary judgment

January 7, 2019

 

Deadline for the filing of pretrial motions (including motions in limine
and Daubert motions): '

February 15, 2019

 

Mediation to be completed no later than:

February 15, 2019

 

Plaintiffs Witness and exhibit lists:

March 27, 2019

 

Defendants' Witness and exhibit lists:

March 29, 2019

 

Pretrial stipulations to be filed by:

April 2, 2019

 

Calendar Call at 2:00 p.m., Will<ie D. Ferguson U.S. Courthouse,
Courtroom 13-3, 400 North Miami Avenue, Miami, FL 33128:

April 9, 2019

 

Trial set for the tWo-Week period commencing:

 

 

April 15, 2019

 

 

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Pursuant to Federal Rule of Civil Procedure 40, this action is at issue. lt is
ADJUDGED that the parties shall comply with the following trial management procedures:

(1) Pretrial Conference _ The Pretrial Conference allowed under Federal Rule of
Civil Procedure 16(a) and required by Local Rule 16.1.C, shall take place immediately following
Calendar Call only if requested by the parties in advance. If the parties do not request a pretrial
conference in advance of Calendar Call then no pretrial conference will be held.

(2) Plaintiff's Witness and~Exhibit Lists - Plaintiff shall electronically upload onto
the case docket a copy of Plaintiff‘s Witness List and a copy of Plaintiff`s Exhibit List no later
than Wednesdav, March 27, 2019, at 5:00 p.m.

(a) Plaintiff's Witness List - Plaintiff‘s Witness List shall include all the Witnesses,
both lay and expert, that Plaintiff intends to call at trial. Plaintiff`s Witness List
shall briefly describe the nature of each witness’ testimony and whether such
witnesses will be testifying live or by deposition Witnesses omitted from the list
will not be allowed at trial. ll

(b) Plaintiff's Exhibit List - Plaintiff‘s Exhibit List shall include the exhibits that
Plaintiff intends to use at trial. Plaintiff‘s Exhibit List shall in consecutively
numbered paragraphs adequately describe the nature of each document listed.
The actual exhibits shall be pre-marked with corresponding numbers (e.g.
Plaintiff's Exhibit #1, Plaintiff's Exhibit #2, etc.) which numbers they will retain
through the end of trial. The exhibit list shall refer to specific items and shall not
include blanket statements such as all exhibits produced during depositions or
Plaintijj‘ reserves the use of any other relevant evidence Exhibits omitted from
the list will not be allowed at trial.

(3) Defendants' Witness and Exhibit Lists - Defendants shall electronically upload
onto the case docket a copy of Defendants' Witness List and a copy of Defendants' Exhibit List
no later than Fridav, March 29, 2019, at 5:00 p.m.

(a) Defendants' Witness List - Defendants' Witness List shall include only those
additional lay and expert witnesses not included on Plaintiffs Witness List.
Witnesses listed by Plaintiff will be available for both parties and should not be
re-listed on Defendants' Witness List. Defendants' Witness List shall briefly

describe the nature of each additional witness’ testimony and whether such

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witnesses will be testifying live or by deposition Witnesses omitted from
Defendants' Witness List and not listed on Plaintiffs Witness List will not be
allowed at trial.
(b) Defendants' Exhibit List - Defendants' Exhibit List shall include only those
o additional exhibits that Defendants Wish to introduce at trial which are not on
Plaintiffs Exhibit List. Defendants' Exhibit List shall in consecutively numbered
paragraphs adequately describe the nature of each document listed. The actual
exhibits shall be pre-marked with corresponding numbers (e.g. Defendants'
Exhibit #1, Defendants' Exhibit #2, etc.) which numbers they will retain through
the end of trial. The exhibit list shall refer to specific items and shall not include
blanket statements such as all exhibits produced during depositions or Defendants
reserve the use of any other relevant evidence Exhibits omitted from Defendants'
Exhibit List and not listed on Plaintiff's Exhibit List will not be allowed at trial.

(4) Pretrial Stipulation - Pursuant to Local Rule 16.1.E, the parties shall file a Pretrial
Stipulation no later than Tuesday2 April 2, 2019. The Pretrial Stipulation shall conform to the
requirements of Local Rule 16.1.E. The parties shall attach to the Pretrial Stipulation copies of
the witness and exhibit lists along with any objections allowed under Local Rule 16.1.E.9. A
pending motion for continuance shall not stay the requirement for filing of a Joint Pretrial
Stipulation.

(5) Continuance / Settlement _ To the extent that the parties request modification of any
date in this Court’s Scheduling Order, the parties shall file either a Motion to Continue Trial or a
Motion to Continue Pretrial Deadlines. A stipulation of settlement must also be in writing See
Local Rule 7.1.4. Unless the Court grants the motion in writing, counsel must appear at the
Calendar Call.

(6) Motions ~ When submitting motions, the parties shall submit a proposed order only for
those motions listed in Local Rule 7.1.A.1.

(7) Depositions _ Depositions are limited to seven hours during one day absent court order
or,agreement of the parties and any affected non-party witnesses See Local Rule 26.1K.

(8) Summary Judgment - The practice of filing multiple motions for partial summary
judgment which are collectively intended to dispose of the case (as opposed to one

comprehensive motion for summary judgment) in order to evade memorandum page-limitations

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is specifically prohibited See Administrative Order 97~06 (S.D. Fla. Jan. 31, 1997) (amending
Local Rule 7. l .C.2).
V"
DONE AND ORDERED in Chambers at Miami, Florida, this g z of September

   
     

 

2018. /t.

FEDERI "o A. Mo' " ,

UNITED STA » ’ `l ISTRICT JUDGE
Copies furnished to:

Counsel of Record

